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                                                                                      FILED
                                                                                        DEC    0 8 2017
                             UNITED STATES DISTRICT COURT
                                                                               CLERK, U.S. DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                        WESTERN DISTRICT Of TEXAS
                                SAN ANTONIO DIVISION                           BY
                                                                                                   UTY CLERK

COMMONS WEST OFFICE                                §
CONDOMINIUM ASSOCIATION                            §
                                                   §      NO: SA: 17-C V-0092 1 -OLG
Plaintiff,                                         §
                                                   §
vs.                                                §
                                                   §
ALLIED PROPERTY AND CASUALTY                       §
INSURANCE COMPANY, ROBERT                          §
DRUCK                                              §

Defendant.


        ORDER FOR JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        Came to be considered the Joint Stipulation of Dismissal With Prejudice urged by

Plaintiff COMMON WEST OFFICE CONDOMiNIUM ASSOCIATION and Defendant

ALLLIED PROPERTY ANt) CASUALTY INSURANCE COMPANY. The Court, having read

the Joint Stipulation of Dismissal With Prejudice, is of the opinion that the Stipulation should be,

and hereby is, GRANTED.

        IT IS THEREFORE ORDERED that all claims made in this lawsuit, including all claims

against ROBERT DRUCK, are hereby dismissed with prejudice to re-filing, and that this matter

is CLOSED.

               Signed this        dayof                ,2017.


                                                                        'S

                                              UNITED STATES DISTRICT JUDGE




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